Case 2:16-cr-00081-SPC-KCD Document 225 Filed 06/19/17 Page 1 of 2 PageID 919




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                                      CASE NO: 2:16-cr-81-FtM38CM
BROWN LASTER, JR.,
________________________________/

                                        ORDER1

      This matter comes before the Court on sua sponte review of Defendant Brown

Laster, Jr.’s Ex Parte Emergency Motion to Preserve Courthouse Video filed on June 16,

2017. The motion is currently sealed per Court order. Upon further and closer review,

however, the Court finds that the motion should be unsealed so that the Government may

respond accordingly.

      Accordingly, it is now

      ORDERED:

      (1) The Clerk of Court is DIRECTED to UNSEAL the Order to Seal, Defendant’s

          Ex Parte Emergency Motion to Preserve Courthouse Video, proposed Order

          on Ex Parte Emergency Motion to Preserve Courthouse Video, Ex Parte Motion

          to Seal, and proposed Order to Seal.




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not affect the opinion of the Court.
Case 2:16-cr-00081-SPC-KCD Document 225 Filed 06/19/17 Page 2 of 2 PageID 920




      (2) The United States is DIRECTED to file an expedited response to Defendant

         Brown Laster, Jr.’s Ex Parte Emergency Motion to Preserve Courthouse Video

         on or before June 23, 2017.

      (3) The United States Marshal Service is DIRECTED to hold, and not delete, any

         courthouse video footage from 3:30 p.m. to 6:00 p.m. on June 13, 2017, in

         the locations that Defendant requests, until further Court order.

      DONE AND ORDERED at Fort Myers, Florida, this June 16, 2017.




Copies: Counsel of Record




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